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                                                                      USDC SDNY
UNITED STATES DISTRICT COURT                                          DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                         ELECTRONICALLY FILED
NESTOR HUIRACHOCA,                                                    DOC #:
                                                                      DATE FILED: 4/4/2022
                               Plaintiff,

               -against-                                                      22 Civ. 2507 (AT)

CAFFE ISLE OF CAPRI, INC., JANE                                            INITIAL PRETRIAL
D’AGUSTINO and GLORIA SCHIAVETTA,                                         SCHEDULING ORDER

                        Defendants.
ANALISA TORRES, District Judge:

       1.      Counsel for all parties are directed to submit a joint letter and a jointly proposed
Case Management Plan and Scheduling Order by August 2, 2022, in accordance with Rule 16 of
the Federal Rules of Civil Procedure and the instructions set forth below.

     2.   COUNSEL FOR PLAINTIFF IS DIRECTED TO IMMEDIATELY SEND A
COPY OF THIS ORDER AND THE COURT’S INDIVIDUAL PRACTICES TO ALL
PARTIES.

         3.     This case has been designated for electronic case filing. By the deadline for
submissions, counsel for all parties are required to register as ECF filers and file a notice of
appearance in accordance with the Electronic Case Filing Rules & Instructions
(https://nysd.uscourts.gov/electronic-case-filing).

       4.      The parties are directed to submit a joint letter addressing the following in separate
paragraphs: (1) a brief description of the case, including the factual and legal bases for the claim(s)
and defense(s), (2) any contemplated motions, and (3) the prospect for settlement.

        5.     The parties are directed to submit with their joint letter a jointly proposed Case
Management Plan and Scheduling Order. The parties are directed to consult the Court’s Individual
Practices and model Case Management Plan and Scheduling Order, which are available at
https://nysd.uscourts.gov/hon-analisa-torres. The joint letter shall be filed electronically on ECF,
with a courtesy copy, clearly marked as such, e-mailed to chambers in accordance with the Court’s
Individual Practices (See Rule I.B). The proposed Case Management Plan and Scheduling Order
shall be e-mailed to chambers (Torres_nysdchambers@nysd.uscourts.gov).

       6.     Requests for adjournment of the deadline for the above submissions will be
considered only if made in writing and in accordance with the Court’s Individual Practices (See
Rule I.C).

        7.     The parties are advised that the Court requires pre-motion letters before a motion is
filed (See Rules III.A–C).
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       8.       If this case has been settled or otherwise terminated, counsel are required to notify
the Court—before the deadline for the above submissions—by calling (212) 805-0292 and must
e-mail a stipulation of discontinuance, voluntary dismissal, or other proof of termination to the
Orders and Judgments Clerk (judgments@nysd.uscourts.gov).

       SO ORDERED.

Dated: April 4, 2022
       New York, New York




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